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                                                                 FILED: April 30, 2024


                       UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT

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                                      No. 23-1309
                              (1:22-cv-00016-RDA-WEF)
                                ___________________

  PERCIVAL PARTNERS LIMITED; REIPLO HOLDINGS, LLC

                Plaintiffs - Appellants

  v.

  PAA KWESI NDUOM; INTERNATIONAL BUSINESS SOLUTIONS, LLC;
  GROUPE NDUOM; YVONNE NDUOM; NANA KWEKU NDUOM; EDJAH
  NDUOM; NANA ABA NDUOM; JOHN DOES 1-10; GROUPE NDUOM USA,
  LLC

                Defendants - Appellees

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                                   JUDGMENT
                                 ___________________

        In accordance with the decision of this court, the judgment of the district

  court is affirmed.

        This judgment shall take effect upon issuance of this court's mandate in

  accordance with Fed. R. App. P. 41.

                                          /s/ NWAMAKA ANOWI, CLERK
